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FOIA Summons
1/13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Jason Leopold and Buzzfeed Inc.

 

Plaintiff

V..

Civil Action No. 1:19-ev-00957
U.S. Department of Justice, et. al.

 

wwe we rem

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
U.S. Attorney General

950 Pennsylvania Ave, NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of

Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and

address are: Matthew V. Topic

Loevy & Loevy
311N. Aberdeen St., 3rd FI.
Chicago, IL 60607

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: 04/05/2019 /s/ Simone Bledsoe

Signature of Clerk or Deputy Clerk

 
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FOIA Summons (1/13) (Page 2)

Civil Action No. 1:19-cv-00957

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) U >, Pettey mney Cenent

was received by me on (date) = / 4 / | 4

1 I personally served the summons on the individual at (place)

 

 

on (date) ; or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

(1 Treturned the summons unexecuted because > or

B Other (specify) <Z- carved the sommogas Vie DSFS CemhtNad Maxl ; Ret Vv)
Reve jot Requeited,, ApttleMo . 7018 1830 0000 13.25 8345,

My fees are $ for travel and $ for services, for a total of $ 0.00 r

 

I declare under penalty of perjury that this information is true.

Date: T/B/ [% al tao

Server Priguature ignature

 

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Eizo es pas

 

” Server’s address

Additional information regarding attempted service, etc:
Case 1:19-cv-00810-RBW Document 47 Filed 05/24/19 Page 3 of 3
s

SENDER: COMPLETE THIS SECTION

m= Complete items 1, 2, and 3.
@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

4. Article Addressed to: |

i.) Attorney
FO Pemas [renin At NO

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9590 9402 3277 7196 8406

      

         

COMPLETE THIS SECTION ON DELIVERY
A. Signature

Xx
B. Received by (Printed Name)

DO Agent
1 Addressee
C. Date of Delivery

  
 
     

D. Is delivery address diffe
if YES, enter delivery ai

APR 15 2019

 

 

 

0 Priority Mail Express®
1 Registered Mail™
O Registered Mail Restricted

Service Type
a Adult Signature
1 Adult Signature Restricted Delivery

Certified Mail® Delivery
CO Certified Mail Restricted Delivery CO Return Receipt for
Merchandise

1 Collect on Delive
- (1 Signature Confirmation™

 

 

>. Article Number (Transfer from service label)

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. PS Form 381 4, July 2015 PSN 7530-02-000-9053

C1 Collect on Delivery Restricted Delivery
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sr $500)

 

CO Signature Confirmation
Restricted Delivery

Domestic Return Receipt
